Based upon information contained in I.C. File LH-0296 and upon an investigation made by the Investigations Section of the Industrial Commission, the Full Commission makes the following:
                            FINDINGS OF FACT
1.  Decedent, David T. Newman, was a Forestry Pilot II for the North Carolina Forest Service at the time of his death on 7 September 2000.
2.  Decedent's death occurred in the course and scope of his employment when the helicopter he was piloting crashed enroute to a training mission operated by the North Carolina Division of Forest Resources.
3.  Decedent was survived by his wife, Jill Newman, who resided with him at the time of his death and during the six months prior to his death.  Decedent is also survived by three dependent children, Marshall Newman, age 13, Olivia Newman, age 10, and Trevor Newman, age 8, residing with him and totally dependant upon him for support on the date of decedent's death.
4.  Three children from a previous marriage of Mrs. Jill Newman, ages 14,14, and 16, were not living with decedent at the time of his death; however, the father of these children was paying child support on their behalf.
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Based upon the foregoing findings of fact, the Full Commission concludes as follows:
                           CONCLUSIONS OF LAW
1.  Decedent was an eligible employee of the North Carolina Forest Service as defined in N.C. Gen. Stat. § 143-166.2(d), at the time of his death on 7 September 2000.
2.  Decedent's death was the direct result of injuries incurred while discharging his official duties, as defined by N.C. Gen. Stat. §143-166.2.
3.  Decedent is survived by his wife, Jill Newman, who is eligible for the initial award of $10,000.00 in death benefits under N.C. Gen. Stat. § 143-166.1 et seq.  Thereafter, the sum of $5,000.00 shall be paid annually to Jill Newman as long as she remains unmarried until such time as the balance of all payments equal $25,000.00.
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Based upon the foregoing findings of fact and conclusions of law, the Full Commission enters the following:
                                  AWARD
The sum of $25,000.00 is hereby awarded to Jill Newman as the qualified surviving spouse of David T. Newman as follows:  the sum of $10,000.00 shall be paid immediately to Jill Newman. Thereafter, the sum of $5,000.00 shall be paid annually to Jill Newman as long as she remains unmarried until such time as the balance of all payments equal $25,000.00.  This sum shall be paid from funds appropriated by the State Treasurer for the purpose set forth in N.C. Gen. Stat. § 143-166.1 etseq.  If Jill Newman becomes ineligible for benefits before the Award is fully paid, the balance of the payments under this Award shall be made to other eligible person(s).
A copy of this Award shall be furnished the Office of the State Treasurer for the purpose of having compliance with this Award, and the Commission shall be advised of the date or dates of payments made.
No costs are assessed before the Commission.
This the ___ day of January, 2001.
                                   S/___________________ BERNADINE S. BALLANCE COMMISSIONER
CONCURRING:
  S/_____________ THOMAS J. BOLCH COMMISSIONER
  S/_______________ CHRISTOPHER SCOTT COMMISSIONER